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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 SAMANTHA BLANTON and RUTH                        §
 PECK, on behalf of themselves and others         §
 similarly situated,                              §
                                                  §
        Plaintiffs,                               §
                                                  §
 v.                                               §                      C.A. NO.: 4:17-CV-2860
                                                  §
 BRENT WALTERS and CLAYBURN                       §
 CORPORATION d/b/a THE WALTERS                    §
 AGENCY,                                          §
                                                  §
        Defendants.                               §

                  DEFENDANTS’ EXPEDITED MOTION TO STAY
             PENDING RESOLUTION OF MOTION TO TRANSFER VENUE

       Defendants Brent Walters and The Clayburn Corporation d/b/a The Walters Agency

(“Walters” or “Defendant”) file this Expedited Motion to Stay Pending Resolution of Defendants’

Motion Transfer Venue to the United States District Court for the Eastern District of Texas,

Beaumont Division. In support thereof, Walters respectfully shows the Court as follows:

                          I.      SUMMARY OF THE ARGUMENT

       Plaintiffs Samantha Blanton and Ruth Peck, along with opt-in Plaintiffs (collectively

“Plaintiffs”) are former employees of Walters who allege that they were deprived overtime in

violation of the Fair Labor Standards Act. Plaintiffs seek to represent a class of similarly situated

employees, and filed a Motion for Conditional Certification.

       Notably, Plaintiffs all worked for Walters exclusively in the Eastern District of Texas, and

all relevant documents, witnesses, and the majority of the putative class reside in the Eastern

District. Given the absence of any connection to the Houston Division, Walters moved to transfer

venue to the Eastern District, and that Motion is currently pending before the Court.



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        Walters requests that the Motion for Conditional Certification be stayed until resolution of

the threshold issue of venue is resolved. The Court that will oversee this case should be the same

court that decides whether this case is appropriate for class treatment as well as the scope of the

class, if any. The Fifth Circuit has long held that a stay is proper to resolve a threshold question –

such as Defendant’s Motion to Transfer Venue – prior to class certification. This Court should

follow others who have had motions to transfer venue and for conditional certification pending

simultaneously and “decline to rule on the pending motion [for conditional certification] in deference to

the transferee court.” Sloane v. Gulf Interstate Field Inspectors, 2016 U.S. Dist. LEXIS 97706, at *3 (W.D.

Pa. July 26, 2016). This principle makes sense: decide where the case will be litigated before

deciding if a case is appropriate for class treatment.            Accordingly, Walters requests that

consideration of Plaintiffs’ Motion for Conditional Certification be stayed pending resolution of

Defendants’ Motion to Transfer, and if Defendants’ Motion to Compel is denied, Defendants be

granted a reasonable time to respond to the issues raised in Plaintiffs’ Motion for Conditional

Certification.

                                  II.     FACTUAL BACKGROUND

        Plaintiffs initiated this collective action in September 2017. Walters was later served and

answered the claim, denying liability. Walters subsequently moved to transfer venue to the Eastern

District while Plaintiffs have moved to conditionally certify a class of Walters’ employees. Both

Motions are pending before the Court.

                           III.         ARGUMENTS AND AUTHORITIES

        The Supreme Court and the Fifth Circuit have long held that “a district court possesses

inherent power to control its docket.” Marinechance Shipping, Ltd. v. Sebastian, 143 F.3d 216,

218 (5th Cir. 1998); Landis v. North Am. Co., 299 U.S. 248, 254 (1936) (discussing “the power

inherent in every court to control the disposition of the causes on its docket with economy of time


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and effort for itself, for counsel, and for the litigants”). Indeed, district courts have broad

discretion and inherent authority to grant a stay to preserve resources and avoid unnecessarily

burdening the parties or the judicial system. Petrus v. Bowen, 833 F.2d 581, 583 (5th Cir. 1987)

(discovery properly deferred where nothing that the plaintiff could have learned through discovery

could have affected resolution of motion); Von Drake v. NBC, 2004 U.S. Dist. LEXIS 25090,

at *4 (N.D. Tex. 2004) (holding that discovery may be stayed pending the outcome of a motion

to dismiss); Corwin v. Marney, Orton Inv., 843 F.2d 194, 200 (5th Cir. Tex. 1988); Mayo v.

Tri-Bell Industries, Inc., 787 F.2d 1007, 1012 (5th Cir. 1986).

       Where there is a preliminary question – like the one presented in Defendants’ Motion to

Transfer Venue – a trial court should exercise its broad discretion to stay proceedings pending

resolution of the threshold issue, thereby preventing the unnecessary waste of resources. Petrus,

833 F.2d at 583; see also Joseph N. Main P.C. v. Elec. Data Sys. Corp., 168 F.R.D. 573, 575

(N.D. Tex. 1996) (noting that Magistrate Judge stayed discovery pending resolution of issues

concerning compliance with local class certification rule); Sapp v. Mem’l Hermann Healthcare

Sys., 406 Fed. Appx. 866, 870 (5th Cir. 2010). Indeed, staying conditional certification pending

the resolution of threshold issues, such as a motion to transfer venue or compel arbitration, is

an appropriate exercise of the Court’s discretion to preserve resources. Dickard v. Oklahoma

Mgmt. Servs., No. 06-5176, 2007 U.S. Dist. LEXIS 68982 (W.D. Ark. Sept. 17, 2007) (staying

the issue of class certification pending resolution of the defendants’ summary judgment motion

because entry of summary judgment would make the class certification issue moot); Joseph N.

Main P.C., 168 F.R.D. at 575 (granting stay of discovery pending resolution of issues concerning

compliance with local class certification rule); Fullington v. Pfizer, Inc., 2011 U.S. Dist. LEXIS

22170, at *3 (E.D. Ark. Feb. 18, 2011); Chrisiansen v. Kiewet-Murdock Inv. Corp., 815 F.2d 206, 214




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(2d Cir. 1987); Saunders v. First Priority Mortg., Inc., No. 06-CV-586S, 2010 U.S. Dist. LEXIS 83906 *4

(W.D.N.Y. Aug. 15, 2010) (“this Court finds it is appropriate to first consider whether any named Plaintiff

may maintain a claim for relief prior to moving forward on class certification”); Arena v. Delux Transp.

Servs., Inc., No. CV 12-1718, 2013 U.S. Dist. LEXIS 23964 (E.D.N.Y. Feb. 15, 2013) (delaying ruling on

conditional certification until after resolution of defendant’s motion for summary judgment); Greenburg v.

Hineri, 173 Fed. Appx. 367, 368 n. 2 (6th Cir. 2006) (“the usual and preferred practice is to rule on any

pending motion to dismiss before addressing class certification”). And this general rule also makes sense

because the judge who will oversee a case through resolution should be the same judge that decides if the

case is appropriate for class certification.

        In Sloane v. Gulf Interstate Field Inspectors, 2016 U.S. Dist. LEXIS 97706, at *3 (W.D. Pa. July

26, 2016), the plaintiffs moved for conditional certification of a FLSA class and the defendants moved to

transfer venue for the convenience of the parties. Id. The court took up the transfer issue first as a threshold

issue, and transferred the case to a more appropriate forum. Id. The court then explained that “this Court

will decline to rule on the pending motion [for conditional certification] in deference to the transferee court.”

Id.

        Similarly, in Garcia v. FTS International, Inc., 2016 U.S. Dist. LEXIS 188025, at *2-3 (N.D. Tex.

Sep. 1, 2016), the plaintiffs were granted conditional certification, and the defendant subsequently moved

to transfer venue, for reconsideration of the certification order, and for a stay of all deadlines pending

resolution of the transfer issue. Id. The court granted the stay and then granted the motion to transfer venue,

thereby leaving it to the transferee court to resolve certification. Id.

        In this case, Walters moved to transfer venue, and as in Garcia and Sloane, it is appropriate

to resolve the transfer motion prior to determining class certification. The threshold issue of venue

should be resolved before the parties and Court are burdened with class certification issues that may




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be appropriately resolved in another forum, and without binding the potential transferee court on

such a significant issue. Vallejo v. Garda CL Southwest, Inc., 2013 U.S. Dist. LEXIS 12327, at *30

(S.D. Tex. Jan. 30, 2013) (finding motion for conditional certification should be delayed until forum

of dispute is resolved).

        Requiring the parties to litigate certification issues only to later determine that the case

belongs in another venue represents a waste of resources. Id. Indeed, a party waives a venue

challenge once a party substantially invokes the judicial process, and this standard is predicated on

the sound rationale that once a case has proceeded to a significant degree, the case should not be

moved to a different court. The converse principle is equally true – a case should not proceed to

substantially invoke the judicial process when a threshold venue motion is pending.

        Further, if a stay is granted and Defendants’ Motion to Transfer is later denied, Plaintiffs will

suffer no harm as their case will proceed before this Court and conditional certification can be taken

up at that time.1

                                     III.     RELIEF REQUESTED

        This case should have been filed in the Eastern District of Texas and has no legitimate

connection whatsoever to the Houston Division. The issue of venue should be resolved prior to

class certification. In the interests of justice, Walters requests that the Motion to Transfer be

resolved prior to the Motion for Conditional Certification.




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    If this Motion to Stay is denied, Defendants alternatively request an extension of the deadline to respond to
Plaintiffs’ Motion for Conditional Certification for seven days after this Motion to Stay is denied.


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 Dated: January 8, 2018

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                                  CERTIFICATE OF CONFERENCE

        I hereby certify that I conferred with counsel for Plaintiffs regarding this Motion and
Plaintiffs are opposed.

                                                             /s/ William Stukenberg
                                                             William Stukenberg

                                     CERTIFICATE OF SERVICE

          I hereby certify that on January 8, 2018, I served the foregoing document via electronic
filing:

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